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9
10 UNITED STATES DISTRICT COURT
Ss 1 CENTRAL DISTRICT OF CALIFORNIA
GM 12
si ELOY BAEZA, Case No:
Wi 13
© Plaintiff, COMPLAINT FOR BENEFITS UNDER
— AN EMPLOYEE WELFARE BENEFIT
MO 45 vs. PLAN
(3 16 LIFE INSURANCE COMPANY OF
a 47 NORTH AMERICA,
18 Defendant.
19
20 Plaintiff alleges as follows:
21 1. This Court’s jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331, 1337
22 and 29 U.S.C. § 1132(a), (e), (f), and (g), of the Employee Retirement Income Security
23 Act of 1974, 29 U.S.C. § 1101, et seq. (hereafter “ERISA”) as it involves a claim by
24 Plaintiff for disability benefits under an employee benefit plan regulated and governed
25 under ERISA. Jurisdiction is predicated under these code sections as well as 28 U.S.C.
26 § 1331 as this action involves a federal question.
27 2 The ERISA statute at 29 U.S.C. § 1133, in accordance with Regulations of
28 the Secretary of Labor, provides a mechanism for internal appeal of benefit denials.

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1 Those avenues of appeal have been exhausted.
2 3. Plaintiff is informed and believes and thereon alleges that the Daifuku
3 North America Holding Company Group Long Term Disability Plan (“Plan”) is an
4 employee welfare benefit plan established and maintained by Daifuku North America
5 Holding Company (“DAIFUKU”), to provide its employees and those of its subsidiaries
6 and affiliates, including Plaintiff, ELOY BAEZA (“Plaintiff’ and/or Mr. BAEZA"), with
< income protection in the event of a disability and is the Plan Administrator.
8 4, Plaintiff alleges upon information and belief that Defendant, LIFE
9 INSURANCE COMPANY OF NORTH AMERICA (‘“LINA’), is, and at all relevant times
10 was, a corporation duly organized and existing under and by virtue of the laws of the
S 11 State of Pennsylvania, authorized to transact and transacting the business of insurance
5 12 in this state, and, the insurer and Claims Administrator for the Plan.
oo 13 5. Plaintiff further alleges that venue is proper in this district pursuant to 29
= 14 U.S.C. § 1132(e)(2) in that defendant LINA, who fully insured the policy and who is
© 15 ultimately liable if Plaintiff is found disabled, may be found in this district. Since on or
O 16 about November 1, 1956, LINA has been registered as a corporation with the state of
17 California, has extensive contacts within the state, employs California residents,
18 conducts ongoing business within the state and therefore, may be found within the
19 state.
20 6. At all relevant times Plaintiff was a resident and citizen of the United
21 States, an employee of DAIFUKU, its successors, affiliates and/or subsidiaries, and a
22 participant in the Plan.
23 Pe Based upon information and belief, Plaintiff alleges that at all relevant
24 times herein Plaintiff was covered under group disability policy LK-0965121 (the
25 “Policy”) that had been issued by Defendant LINA to DAIFUKU to insure its Plan, and
26 the eligible participants and beneficiaries of the Plan, including Plaintiff.
27 8. The subject Policy promised to pay Plaintiff monthly long term disability
28 benefits for a specified period of time should he become disabled. Therefore, LINA both

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1 funds and decides whether claimants will receive benefits under the Plan and as such
2 suffers from a structural conflict which requires additional skepticism.
3 9. Based upon information and belief, Plaintiff alleges that, according to the
4 terms of the Plan, if Plaintiff became disabled, LINA promised to pay long term disability
3 benefits to Plaintiff as follows:
6 e Elimination Period: 180 Days
7 e Gross Disability Benefit: The lesser of 60% of an Employee’s monthly
8 Covered Earnings rounded to the nearest dollar, or the Maximum
9 Disability Benefit.

10 ° Maximum Disability Benefit: $10,000 per month

11 @ Definition of Disability/Disabled:

 

12 o The Employee is considered Disabled if, solely because of Injury or
10 Sickness, he or she is:
« 1. Unable to perform the material duties of his or her Regular

15 Occupation; and

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16 =» 2. Unable to earn 80% or more of his or her Indexed

 

eZ Earnings from working in his or her Regular Occupation.

18 o After Disability Benefits have been payable for 24 months, the

19 Employee is considered Disabled if, solely due to Injury or

20 Sickness, he or she is:

21 = 1. unable to perform the material duties of any occupation for
22 which he or she is, or becomes qualified based on

23 education, training or experience; and

24 = 2. Unable to earn 60% or more of his or her Indexed

25 Earnings.

26 10. Prior to his disability under the terms of the Plan, Plaintiff, who had been

27 employed with DAIFUKU, was working as a Field Service Engineer.
28 11. Onor about June 5, 2019, Plaintiff became disabled as defined by the

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terms of the Plan and timely submitted a claim to LINA for payment of disability benefits.

 

2 12. — LINA initially approved Plaintiff's claim and paid Plaintiff long term
s disability benefits.
4 ‘13. However, on or about October 26, 2021, LINA unreasonably and
5 unlawfully denied Plaintiff's long term disability claim on the alleged basis that Plaintiff
6 failed to cooperate in the administration of his claim. LINA terminated benefits as of
7 October 26, 2021.
8 14. Plaintiff timely appealed LINA’s October 26, 2021 denial letter.
9 15. — And, on or about March 18, 2022, LINA unreasonably and unlawfully
10 upheld its denial of the disability claim, on the alleged basis that Plaintiff was no longer
> 11 disabled under the terms of the policy.
o 12 16.  LINA’s March 18, 2022 letter therefore alleged a separate basis for its
ie 13. denial than its October 26, 2021 denial letter.
= 14 17. Additionally, in its March 18, 2022 letter, LINA approved Plaintiff's claim
© 15 and paid Plaintiff further LTD benefits from October 27, 2021 through December 1,
16 2021.
17 18. | According to LINA’s denial letters:
18 e October 26, 2021: “After completing our review of your claim, we
19 are unable to continue paying benefits beyond October 26, 2021.
20 ...Since you failed to cooperate in the administration of your claim, it
21 has been closed and no further benefits are payable. ... You have
22 the right to bring a legal action for benefits under the Employee
20 Retirement Income Security Act of 1974 (ERISA) section 502(a)
24 following an adverse benefit determination on appeal.”
25 e March 18, 2022: “After completing our review of your claim, have
26 determined that additional LTD benefits support from October 27,
27 2021 through December 1, 2022. However, as you would not be
28 totally disabled from any occupation, ongoing LTD benefits as of

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December 2, 2021 do not support. ...At this point in time you have

 

2 exhausted all administrative levels of appeal and no further appeals
2 will be considered. ...Please note that you have the right to bring a
4 legal action for benefits under the Employee Retirement Income
5 Security Act of 1974 (ERISA) section 502(a) following an adverse
6 benefit determination on appeal.”
7 19. Because LINA denied the claim on March 18, 2022 on a separate basis
8 than it denied Plaintiff's claim on October 26, 2021, and because LINA paid additional
9 LTD benefits in its March 18, 2022 letter, Plaintiff attempted to appeal the claim on
10 September 13, 2022, and requested additional time to supplement Plaintiff's appeal
Ss 11 request with additional records at a later date.
G 12 20. However, on or about September 14, 2022, LINA denied Plaintiff's appeal
i 13 request.
c= 14 21. According to LINA’s letter dated September 14, 2022:
© 15 a. “Please note that Mr. Baeza previously appealed the decision to deny their
(a 16 Long Term Disability (LTD) benefits. After a review of their appeal, a
17 decision was made to affirm the prior denial on March 18, 2022. The letter
18 dated March 18, 2022 indicates that he had exhausted all administrative
19 levels of appeal and no further appeals would be considered. ...At this
20 time, we are unable to accept any further appeal request for LTD benefits
21 or WOP coverage.”
22 22. Inso doing, LINA unreasonably and unlawfully failed to allow Plaintiff to
20 appeal its March 18, 2022 denial, despite LINA denying the claim on a separate basis
24 than its October 26, 2021 denial letter, and despite LINA establishing a new benefit
20 termination date in its March 18, 2022 letter.
26 23. By failing to timely process Plaintiffs appeal, LINA has failed to follow
27 reasonable claim procedures consistent with the requirements of 29 C.F.R. § 2560.503-
28 1, and is in violation of 29 C.F.R. § 2560.503-1(I).

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1 24.  Asaresult of LINA’s failure to follow reasonable claim procedures, Plaintiff
2 has exhausted his administrative remedies or such remedies are deemed exhausted
2 pursuant to 29 C.F.R. § 2560.503-1(I).
4 25. Additionally, LINA unreasonably and unlawfully failed to timely identify the
5 medical personnel who reviewed Plaintiff's file; relied upon the opinions of physicians
6 who were financially biased and/or not qualified to refute the findings of Plaintiff's board
ie certified physicians; relied strictly upon physical requirements of occupations instead of
8 taking into consideration the non-exertional requirements of Plaintiff's regular, or any,
9 occupation; and misrepresented the terms of the Policy.
10 26. Additionally, LINA knew, or should have Known, that the documentation
Ss 11 submitted to and/or obtained by LINA clearly substantiated Plaintiff's disability and
© 12 entitled him to benefits under the Plan.
fh le 2/.  Todate, even though Plaintiff has been disabled, LINA has not paid
14 Plaintiff any disability benefits under the Policy since on or about December 1, 2021.
© 15 The unlawful nature of LINA’s denial decision is evidenced by, but not limited to, the
(O 16 following:
if ° LINA engaged in procedural violations of its statutory obligations under
18 ERISA, including, but not limited to, failing to promptly identify the medical
19 consultants who reviewed his file; failing to timely advise Plaintiff of what
20 specific documentation it needed from him to perfect his claim; and
21 ° LINA ignored the obvious, combed the record, and took selective evidence
22 out of context as a pretext to deny Plaintiff's claim; and
23 ° LINA ignored the opinions of Plaintiff's board certified treating physicians
24 and/or misrepresented the opinions of Plaintiff's treating physicians.
25 Deference should be given to the treating physicians’ opinions as there are
26 no specific, legitimate reasons for rejecting the treating physicians’ opinions
2/ which are based on substantial evidence in the claim file. Further, LINA’s
28 highly conflicted physicians’ opinions do not serve as substantial evidence

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1 as they are not supported by evidence in the claim file nor are they
2 consistent with the overall evidence in the claim file.
3 28. Additionally, ERISA imposes higher-than-marketplace quality standards
4 on insurers. It sets forth a special standard of care upon a plan administrator, namely,
5 that the administrator “discharge [its] duties” in respect to discretionary claims
6 processing “solely in the interests of the participants and beneficiaries” of the plan, §
7 1104(a)(1); it simultaneously underscores the particular importance of accurate claims
8 processing by insisting that administrators “provide a ‘full and fair review’ of claim
9 denials,” Firestone, 489 U.S., at 113 (quoting § 1133(2)); and it supplements
10 marketplace and regulatory controls with judicial review of individual claim denials, see
s 11 § 1132(a)(1)(B).
% 12 29.  Asadirect and proximate result of LINA’s failure to provide Plaintiff with
o 13 disability benefits, Plaintiff has been deprived of said disability benefits owed under the
e= = 14 Plan since on or about December 2, 2021.
© 15 30. Asa further direct and proximate result of the denial of benefits, Plaintiff
(O 16 has incurred attorney fees and costs to pursue this action, and is entitled to have such
17 fees and costs paid by defendants pursuant to 29 U.S.C. § 1132(g)(1), ERISA §
18 502(g)(1).
19 31. | Acontroversy now exists between the parties as to whether Plaintiff is
20 disabled as defined in the Plan. Plaintiff seeks the declaration of this Court that he
21 meets the Plan’s definition of disability and consequently is entitled to all benefits from
22 the Plan to which he might be entitled while receiving disability benefits, with
29 reimbursement of all expenses and premiums paid for such benefits from the beginning
24 of his claim through the present. In the alternative, Plaintiff seeks a remand for a
25 determination of Plaintiff's claim consistent with the terms of the Plan.
26 WHEREFORE, Plaintiff prays for relief against Defendant as follows:
27 1. An award of benefits in the amount not paid Plaintiff beginning on or about
28 December 2, 2021, together with interest at the legal rate on each monthly payment

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from the date it became due until the date it is paid; plus all other benefits from the Plan

 

 

2 to which he might be entitled while receiving disability benefits, with reimbursement of
3 all expenses and premiums paid for such benefits or, in the alternative, a remand fora
4 determination of Plaintiffs claim consistent with the terms of the Plan: and,
5 2. An order determining Plaintiff is entitled to disability payments/benefits so
6 long as he remains disabled as defined in the Plan; and/or,
7 2. An order determining Plaintiff is entitled to an additional administrative
8 review pertaining to the denial of Plaintiff's benefits beyond December 1, 2021; and,
9 4. For reasonable attorney fees and costs incurred in this action: and,
10 nD For such other and further relief as the Court deems just and proper.
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& 12 Dated: November 17, 2022 [> DarrasLaw
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© 45 FRANK N. DARRAS
QO PHILLIPS. BATHER
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= Attorneys for Plaintiff
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